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                 EXHIBIT A
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To whom this concerns:

My name is Lisa Stark. I have known Ashley S. Maher for about 12 years. I am like an adopted
mom. Ashley has always been a very thoughtful young woman. She worked for City Market for
10 years. She has a shine that everyone saw and loves. Ashley had been dating a very abusive
man that she had seen off and on for 10 years. He's older, and is very narcissistic. He had done
nothing but manipulate and abuse her, both physically and emotionally. . She did
notify authorities of abuse even filed a restraining order. But due to her employment being short
handed on that particular day, she was forced to remain at work or lose her job. Therefore the
case was dismissed. Until it was brought before the courts due to dismissal, the court was
unaware that Restraining Order had even been filed.


Ashley is a very bright and highly motivated young woman that due to
unfortunate circumstance within the legal system when called upon failed her. Resulting in the
loss of her residence, job, car etc. I'm not making excuses for her choices. I simply would like it
to be known the good points. Due to her choices, she is where she is now. I pray that the courts
take all into account before making the final decision that will affect her life from here
forward. Ashley has never been into drugs. This man manipulated and abused her
both physically and mentally Ashley openly acknowledges that she needs counseling and
guidance to overcome this disaster. She has alot of potential and I feel that if given the chance to
seek treatment and counseling I believe she can and will shine again. To be an example for
others. She's never been in trouble before!. Ashley has always been a hard working and very
responsible young lady in ALL she did. We all make mistakes in our lives. Mistakes that can
either make or break us. I pray that the court see her potential and allow her the opportunity to
obtain the necessary help she needs. She does realize and acknowledge that there are
consequences to our actions and she has always been very honest in that respect. Willing to take
responsibility for her actions as she so often stated. She does not deny that she has issues that
need to be dealt with. She wants to move forward with her life. I pray that the courts allow her
to move forward. She is aware of the fact she will have to pay for the bad choices she made and
admits she does need help with counseling and treatment to help her sort out what life has dealt
her and to deal with it. Once done she can become once again a productive citizen within our
community or wherever she decides to go. She can help others not to choose the path she has
gone down but rather go a different way. Ashley has sooooo much potential and love for others, I
hate to see it go down the tubes. Chalked up as another one lost within the system. There are
numerous resources out there and I respectfully ask the court to allow her that chance to shine
again, We have to believe that there is still good out there. Abuse robs us of that fact. Sincerely
grateful that I was able to plead for Ashley and pray that God will direct you in what should be
done to help her. I love her with all my being. My husband was very ill this last few years.
Ashley always made time to visit when she was not staying with us. She gave my husband that
peace and understanding and love that gave him and I both strength to endure on those
difficult days. For that, I will always be grateful. That is why I know for a fact her potential. I
want to help her any way I can to find her shine again and restore her faith in others once more.
She gave my husband the greatest gift ever... Herself. She has that capability. Please...I
respectfully ask the court to help her find Ashley again and not let her get lost like so many do
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within the system. Thank you for allowing me this opportunity. She has lived with us off and on.
Ashley is always welcome at my home. She is family here.


Sincerely,
Lisa Riley Stark
831 Whipple Ave.
Canon City, 81212.
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Dear Honorable Judge,

I am writing this letter to you to tell you about the character of Ashley Maher.

I met Ashley in October 2010. I transferred to City Market in Canon City from King
Sooper in Colorado Springs and I became her supervisor. Ashley was a cashier in the
local grocery store.

She is a very sweet and caring individual that did her job very well. She always has a
smile on her face with a very positive attitude and our customers really love her. Every
child that walked into our store went out of their way to find Ashley and give her a huge
hug. She always took the time to ask and listen to how the child was doing which made
them feel very special since they knew she cared.

Ashley received accolades regularly about her excellent customer service skills. She
would always go above and beyond her duties making sure her customers found what
they needed. Once Ashley even got a call from the President of our company to
compliment her on a letter he received from an 82 year old gentleman that Ashley had
waited on. He was so impressed with Ashley that he felt compelled to take the time to
sit down and write this letter to the President of the company to let him know that he has
this wonderful employee in the Canon City, Colorado location that should be used as an
example to all the employees in the company on how to make sure all customers leave
the store feeling special and satisfied with their shopping experience. He stated that this
would create loyal customers who would look forward to doing all of their grocery
shopping with us as he looks forward to his shopping.

The community has suffered a tremendous loss when Ashley left and they miss her
deeply. Dozens of people inquire about her on a weekly basis. She always participated
in donating warm clothes and raising money for local charities even winning contests at
our store for the cashier raising the most money.

Ashley also impressed me when i would see her explain to our younger co workers
about the importance of signing up to contribute to their 401k and the benefit of
investing in their own futures.

Ashley has made some bad decisions and got caught up with a bad man she allowed in
her life. She knows she needs to be held accountable for those decisions and she
wants to do whatever it takes to learn from these mistakes and move forward to be a
productive part of society again that she misses dearly. This man is no longer a part in
her life and will stay that way as Ashley has made that decision. (His being incarcerated
for a long time helps too!)

I ask that the courts take into consideration the person Ashley is and to know that she
has a strong support system that she can count on to help her through this journey we
call life.
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The past few years i have had a lot on my plate with my spouse having cancer and
taking him to chemo treatments and being his caregiver while he was very sick until he
recently passed away. During this time I wasnt always there to help guide Ashley in her
life not seeing hoe her life had been spiraling out of control. But now since the passing
og my spouse, I will be there beside Ashley helping every step of the way. She is a
wonderful and caring woman that has a lot to give to the rest of the world if she is
allowed.

Thank you for your time and consideration. You are appreciated in what you do.


Karen Boston,
Retired City Market Supervisor
719-371-4560
